                                 Case 22-10178-KKS                     Doc 9         Filed 11/09/22              Page 1 of 5
                                                              United States Bankruptcy Court
                                                               Northern District of Florida
In re:                                                                                                                 Case No. 22-10178-KKS
Ann K. Bowser                                                                                                          Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 1129-1                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Nov 07, 2022                                               Form ID: b309a                                                            Total Noticed: 49
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 09, 2022:
Recip ID                   Recipient Name and Address
db                     +   Ann K. Bowser, 4000 NW 51st Street, Apt F101, Gainesville, FL 32606-4350
2468210                +   AD Astra Recovery Service c/o Verge Credit At, 7330 W 33rd St, Building N, Suite 118, Wichita, KS 67205-9369
2468212                +   Avant LLC c/o Web Bank Attn: Bankruptcy Depar, 222 N LaSalle St, Suite 1600, Chicago, IL 60601-1112
2468214                +   CC Connect, a division of, Capital Community Bank, 3280 N. University Avenue, Provo, UT 84604-4405
2468224                +   Commenity Bank c/o Torrid Attn: Bankruptcy De, P.O. Box 182789, Columbus, OH 43218-2789
2468225                +   Commenity Bank c/o Ulta Attn: Bankruptcy Depa, P.O. Box 182120, Columbus, OH 43218-2120
2468226                +   Contemporary Management Concepts, LLLP, 13400 Progress Blvd., Alachua, FL 32615-9444
2468228                    Forsythe Finance, LLC, 225 S Executive Dr, Suite 201, Brookfield, WI 53005-4257
2468229                +   George Bowser, 4000 NW 51st Street, Apt. F101, Gainesville, FL 32606-4350
2468231                +   Lending Club Attn: Bankruptcy Dept., 595 Market Street, Suite 200, San Francisco, CA 94105-2802
2468232                +   Lendumo, c/o ZenResolve LLC, 2770 Mission Rancheria Rd. #315, Lakeport, CA 95453-9612
2468233                +   Lotane & Associates, P.A., 1980 Michigan Avenue, Cocoa, FL 32922-5729
2468236                +   Macys/CBNA Attn: Bankruptcy Dept., 151 West 34th Street, New York, NY 10001-2101
2468235                +   Macys/CBNA Attn: Bankruptcy Dept., Box 6789, Sioux Falls, SD 57117-6789
2468237                +   Mariner Finance, 1121 NW 76th blvd, Gainesville, FL 32606-6752
2468240                +   Spring Oaks Capital, LLC, First Electronic Bank, 2150 South 1300 East, Suite 400, Salt Lake City, UT 84106-4336
2468242                +   Spring Oaks Capital, LLC c/o Celtic Bank, 1400 Crossways Blvd, Suite 100 B, Chesapeake, VA 23320-0207
2468241                    Spring Oaks Capital, LLC c/o Celtic Bank, Attn: Bankruptcy Dept., P.O. Box 1216, Chesapeake, VA 23327-1216
2468243                    Spring Oaks Capital, LLC c/o The Bank of Miss, Attn: Bankruptcy Dept., P.O. Box 1216, Chesapeake, VA 23327-1216
2468245                +   Spring Oaks Capital, LLC c/o The Bank of Miss, 916 North Kingshighway, Perryville, MO 63775-1204
2468244                +   Spring Oaks Capital, LLC c/o The Bank of Miss, Attn: Bankruptcy Dept., P.O. Box 4499, Beaverton, OR 97076-4499
2468247                +   Spring Oaks Capital, LLC/First Electronic Ban, 1400 Crossways Blvd, Suite 100B, Chesapeake, VA 23320-0207
2468246                    Spring Oaks Capital, LLC/First Electronic Ban, Attn: Bankruptcy Dept., P.O. Box 1216, Chesapeake, VA 23327-1216

TOTAL: 23

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: sharon@sharonsperling.com
                                                                                        Nov 08 2022 00:02:00      Sharon T. Sperling, Law Office of Sharon T.
                                                                                                                  Sperling, P.O. Box 358000, Gainesville, FL
                                                                                                                  32635-8000
tr                     + EDI: BTMBENDER.COM
                                                                                        Nov 08 2022 05:03:00      Theresa M. Bender, P.O. Box 14557, Tallahassee,
                                                                                                                  FL 32317-4557
smg                        EDI: FLDEPREV.COM
                                                                                        Nov 08 2022 05:03:00      Florida Dept. of Labor/Employment Security, c/o
                                                                                                                  Florida Dept. of Revenue, P.O. Box 6668,
                                                                                                                  Tallahassee, FL 32314-6668
smg                        EDI: FLDEPREV.COM
                                                                                        Nov 08 2022 05:03:00      Florida Dept. of Revenue, Bankruptcy Unit, P.O.
                                                                                                                  Box 6668, Tallahassee, FL 32314-6668
smg                        Email/Text: USAFLN.TLHBankruptcy@usdoj.gov
                                                                                        Nov 08 2022 00:02:00      U.S. Attorney (Tallahassee Office), 111 N. Adams
                                                                                                                  Street, Fourth Floor, Tallahassee, FL 32301
ust                    + Email/Text: ustpregion21.TL.ecf@usdoj.gov
                                                                                        Nov 08 2022 00:02:00      United States Trustee, 110 E. Park Avenue, Suite
                                                                                                                  128, Tallahassee, FL 32301-7728
2468211                + Email/Text: bankruptcy@af247.com
                                                                                        Nov 08 2022 00:02:00      Advance Financial, 100 Oceanside Drive,
                                                                                                                  Nashville, TN 37204-2351
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District/off: 1129-1                                               User: admin                                                             Page 2 of 3
Date Rcvd: Nov 07, 2022                                            Form ID: b309a                                                        Total Noticed: 49
2468213               + EDI: CAPITALONE.COM
                                                                                   Nov 08 2022 05:03:00     Capital One Bank, Attn: Bankruptcy Dept., P.O.
                                                                                                            Box 30281, Salt Lake City, UT 84130-0281
2468215                  EDI: CBS7AVE
                                                                                   Nov 08 2022 05:03:00     Colony/THRGH c/o Country Door, 1112 7th Ave,
                                                                                                            Monroe, WI 53566-1364
2468216               + EDI: WFNNB.COM
                                                                                   Nov 08 2022 05:03:00     Comenity Bank c/o Maurices, Attn: Bankruptcy
                                                                                                            Department, PO Box 182789, Columbus, OH
                                                                                                            43218-2789
2468217               + EDI: WFNNB.COM
                                                                                   Nov 08 2022 05:03:00     Comenity Bank c/o Talbots, Attn: Bankruptcy
                                                                                                            Department, PO Box 182789, Columbus, OH
                                                                                                            43218-2789
2468218               + EDI: WFNNB.COM
                                                                                   Nov 08 2022 05:03:00     Comenity Bank/CH & Bank, PO Box 182789,
                                                                                                            Columbus, OH 43218-2789
2468219               + EDI: WFNNB.COM
                                                                                   Nov 08 2022 05:03:00     Comenity Bank/New York & Co., Attn:
                                                                                                            Bankruptcy Department, PO Box 182789,
                                                                                                            Columbus, OH 43218-2789
2468220               + EDI: WFNNB.COM
                                                                                   Nov 08 2022 05:03:00     Comenity Bank/Torrid, PO Box 182789,
                                                                                                            Columbus, OH 43218-2789
2468221               + EDI: WFNNB.COM
                                                                                   Nov 08 2022 05:03:00     Comenity Bank/Ulta, P.O. Box 182120,
                                                                                                            Columbus, OH 43218-2120
2468222                  EDI: WFNNB.COM
                                                                                   Nov 08 2022 05:03:00     Comenity Capital Bank c/o BOSC, Attn
                                                                                                            Bankruptcy Department, P.O. Box 182436,
                                                                                                            Columbia, OH 43218-2436
2468223               + EDI: WFNNB.COM
                                                                                   Nov 08 2022 05:03:00     Comenity Capital Bank c/o JJill, Attn: Bankruptcy
                                                                                                            Department, PO Box 182120, Columbus, OH
                                                                                                            43218-2120
2468227               + Email/Text: opportunitynotices@gmail.com
                                                                                   Nov 08 2022 00:02:00     Finwise c/o Opploans, 130 E Randolph Street,
                                                                                                            Suite 3400, Chicago, IL 60601-6379
2468230                  EDI: IRS.COM
                                                                                   Nov 08 2022 05:03:00     Internal Revenue Service, PO Box 7346,
                                                                                                            Philadelphia, PA 19101-7346
2468234               + Email/PDF: resurgentbknotifications@resurgent.com
                                                                                   Nov 08 2022 00:07:12     LVNV Funding, LLC, 55 Beattie Place, Suite 110,
                                                                                                            Greenville, SC 29601-5115
2468238                  EDI: AGFINANCE.COM
                                                                                   Nov 08 2022 05:03:00     One Main Financial, Attn: Bankruptcy Dept., P.O.
                                                                                                            Box 3327, Evansville, IN 47732-3327
2468239               + Email/Text: bzern@celticbank.com
                                                                                   Nov 08 2022 00:02:00     Spring Oaks Capital, LLC, c/o Celtic Bank, 268
                                                                                                            South State Street, Suite 300, Salt Lake City, UT
                                                                                                            84111-5314
2468248                  EDI: RMSC.COM
                                                                                   Nov 08 2022 05:03:00     Synchrony Bank/Athleta, Attn: Bankruptcy Dept,
                                                                                                            P.O. Box 965061, Orlando, FL 32896-5061
2468249               + EDI: RMSC.COM
                                                                                   Nov 08 2022 05:03:00     Synchrony Bank/Athleta, Attn: Bankruptcy Dept,
                                                                                                            P.O. Box 965005, Orlando, FL 32896-5005
2468250               + Email/Text: cfcbackoffice@contfinco.com
                                                                                   Nov 08 2022 00:02:00     Verve c/o Continental Finance, Cardholder
                                                                                                            Services, PO Box 3220, Buffalo, NY 14240-3220
2468251                  EDI: BLUESTEM
                                                                                   Nov 08 2022 05:03:00     Webbank/Fingerhut, P.O. Box 0260, St Cloud,
                                                                                                            MN 56395-0260

TOTAL: 26


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
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District/off: 1129-1                                  User: admin                                               Page 3 of 3
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I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Nov 09, 2022                             Signature:       /s/Gustava Winters
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Information to identify the case:
Debtor 1              Ann K. Bowser                                                      Social Security number or ITIN       xxx−xx−4210
                      First Name   Middle Name     Last Name                             EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                 Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                         EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Florida                              Date case filed for chapter 7 November 4,
                                                                                         2022
Case number: 22−10178−KKS


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                         10/20

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully. To protect your rights, consult an attorney.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or through PACER
(Public Access to Court Electronic Records) at https://pacer.uscourts.gov. Anyone can register for the Electronic Bankruptcy
Noticing program at https://bankruptcynotices.uscourts.gov/ to quickly receive court−issued notices and orders by email. This
program is FREE.

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                      About Debtor 2:

1.      Debtor's full name                       Ann K. Bowser

2.      All other names used in the
        last 8 years

3.      Address                                  4000 NW 51st Street
                                                 Apt F101
                                                 Gainesville, FL 32606

4.     Debtor's attorney                     Sharon T. Sperling                                       Contact phone 352−371−3117
       Name and address                      Law Office of Sharon T. Sperling
                                             P.O. Box 358000                                          Email: sharon@sharonsperling.com
                                             Gainesville, FL 32635−8000

5.     Bankruptcy trustee                    Theresa M. Bender                                        Contact phone 850−205−7777
       Name and address                      P.O. Box 14557
                                             Tallahassee, FL 32317                                    Email: tmbenderch7@gmail.com
                                                                                                              For more information, see page 2 >



Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                  page 1
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Debtor Ann K. Bowser                                                                                                         Case number 22−10178−KKS


6. Bankruptcy clerk's office                      110 E. Park Ave., Ste. 100                                          Hours open 9:00am − 4:00pm
                                                  Tallahassee, FL 32301
    Documents in this case may be filed at this                                                                       Contact phone (866) 639−4615
    address. You may inspect all records filed
    in this case at this office or online at
    www.pacer.gov.                                                                                                    Date: November 4, 2022


7. Meeting of creditors                           December 6, 2022 at 09:30 AM, ET                                    Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a                      Meeting will be telephonic. Dial
    questioned under oath. In a joint case,       later date. If so, the date will be on the court                    (866), 619−0683 and enter
    both spouses must attend. Creditors may
    attend, but are not required to do so.        docket.                                                             5736823, when prompted for
                                                                                                                      participation code.
                                                      *** Valid photo identification and proof of Social
                                                                 Security Number required ***


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                         Filing deadline:
                                               to challenge whether certain debts are                                 February 4, 2023
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:

                                                           • if you assert that the debtor is not entitled to
                                                             receive a discharge of any debts under any of
                                                             the subdivisions of 11 U.S.C. § 727(a)(2) through
                                                             (7), or

                                                           • if you want to have a debt excepted from
                                                             discharge under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:

                                                           • if you assert that the discharge should be denied
                                                             under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                                   Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as exempt. If      conclusion of the meeting of creditors
                                                  you believe that the law does not authorize an exemption claimed,
                                                  you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  https://pacer.uscourts.gov. If you believe that the law does not authorize an exemption
                                                  that the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                                  receive the objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                    page 2
